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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

   MATT DINERSTEIN, individually and on               Case No.
   behalf of all others similarly situated,

                          Plaintiff,

                 v.

   GOOGLE, LLC, a Delaware limited liability
   company, and THE UNIVERSITY OF
   CHICAGO MEDICAL CENTER, an Illinois
   not-for-profit corporation, THE
   UNIVERSITY OF CHICAGO, an Illinois
   not-for-profit corporation,

                          Defendants.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Matt Dinerstein brings this Class Action Complaint and Demand for Jury Trial

against Defendants Google, LLC, The University of Chicago Medical Center, and The

University of Chicago (collectively referred to as the “University” or “University of Chicago”).

Plaintiff, individually and on behalf of all others similarly situated, alleges as follows upon

personal knowledge as to himself and his own acts and experiences, and, as to all other matters,

upon information and belief.

                                  NATURE OF THE ACTION

       1.      While tech giants have dominated the news over the last few years for repeatedly

violating consumers’ privacy, Google managed to fly under the radar as it pulled off what is

likely the greatest heist of consumer medical records in history. The compromised personal

information is not just run-of-the-mill like credit card numbers, usernames and passwords, or

even social security numbers, which nowadays seem to be the subject of daily hacks; rather, the



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personal medical information obtained by Google is the most sensitive and intimate information

in an individual’s life, and its unauthorized disclosure is far more damaging to an individual’s

privacy.

       2.      Beginning in 2017, Google set in motion a plan to make its most significant play

in the healthcare space. This plan had two key components: (1) obtain the Electronic Health

Record (“EHR”) of nearly every patient from the University of Chicago Medical Center from

2009 to 2016; and (2) file a patent for its own proprietary and commercial EHR system that

wouldn’t be published until well after it had obtained hundreds of thousands of EHRs from the

University.

       3.      EHRs contain patients’ highly sensitive and detailed medical records, including

records revealing not only a person’s height, weight and vital signs, but whether they suffer from

diseases like AIDS, cancer, sickle cell, depression, sarcoidosis, or diabetes, or went through a

medical procedure like an abortion, transplant, or mastectomy. In short, EHRs are the most

personal and sensitive information that exist about a person.

       4.      The disclosure of EHRs here is even more egregious because the University

promised in its patient admission forms that it would not disclose patients’ records to third

parties, like Google, for commercial purposes. Nevertheless, the University did not notify its

patients, let alone obtain their express consent, before turning over their confidential medical

records to Google for its own commercial gain.

       5.      In an attempt to provide the public a false sense of security over the legitimate

privacy concerns with these practices, Google and the University claimed the medical records

were de-identified. But that’s incredibly misleading. The records the University provided Google




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included detailed datestamps1 and copious free-text notes. As shown below, Google—as one of

the most prolific data mining companies—is uniquely able to determine the identity of almost

every medical record the University released.

       6.      This ability is only increased by and through Google’s direct subsidiary,

DeepMind, an international leader in artificial intelligence machine learning. In the year

following Google’s massive medical data grab, it fully absorbed and took control of a division of

DeepMind known as “DeepMind Health,” for the specific purpose of analyzing medical records

and creating commercial products. Google’s access to DeepMind’s technology allows it to find

connections between various data points (i.e. from EHRs and Google users’ data).

       7.      Google spent the last decade attempting to gain a foothold in the trillion-dollar per

year healthcare industry. But, to develop the type of healthcare technologies most in line with its

data analytics and mining platforms, Google needed access to massive amounts of identifiable

medical records. To a company like Google—best known for its ubiquitous search engine, but in

reality, one of the largest data mining companies in the world—access to that type of data is

extremely elusive.

       8.      To be sure, Google’s overtures for such detailed and identifiable records from

hospitals, researchers, and healthcare providers alike were all uniformly rebuffed. That is, of

course, until Google came across The University of Chicago.

       9.      The University provided Google a partner willing to turn over the information that

it desperately needed. Indeed, the University—seeking not much more than notoriety for its

collaboration with Google in the development of healthcare products—was happy to turn over

the confidential, highly sensitive and HIPAA-protected records of every patient who walked



1
       The term “datestamp,” in the medical field, is inclusive of both date and time.


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through its doors between 2009 and 2016. Ultimately, by getting the University to turn over

these records, Google quietly pulled off a feat that other tech giants (like Facebook) have had to

abandon under mounting public pressure for other gross privacy violations.2

       10.     And as if all of this weren’t bad enough, the University also engaged in a cover up

to keep the breach out of the public eye so as to avoid the public backlash. The cover up is

particularly egregious because the University had a legal duty to inform its patients and the

authorities of the unauthorized transfer of their medical records to Google. While this type of

public misinformation campaign may be expected from a tech company that has been known to

play fast and loose with the information of its customers, the fact that a prominent institution like

The University of Chicago would act in such a way is truly stunning.

       11.     Accordingly, this Complaint seeks all appropriate damages and injunctive relief to

address, remedy, and prevent further harm to Plaintiff and the Class resulting from Defendants’

gross misconduct.

                                             PARTIES

       12.     Plaintiff Matt Dinerstein is a natural person and a citizen of the State of Illinois.

       13.     Defendant Google, LLC, is a limited liability company existing under the laws of

the State of Delaware, with its principal place of business located at 1600 Amphitheatre

Parkway, Mountain View, California 94043.

       14.     Defendant The University of Chicago Medical Center is a not-for-profit

corporation existing under the laws of the State of Illinois, with its principal place of business

located at 5841 South Maryland Avenue, Chicago, Illinois 60637.


2
        Facebook sent a doctor on a secret mission to ask hospitals to share patient data, CNBC,
https://www.cnbc.com/2018/04/05/facebook-building-8-explored-data-sharing-agreement-with-
hospitals.html?cid=sm_npd_nn_tw_ma (last visited on June 26, 2019).


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       15.     Defendant The University of Chicago is a not-for-profit corporation existing

under the laws of the State of Illinois, with its principal place of business located at 5801 South

Ellis Avenue, Chicago, Illinois 60637.3

                                   JURISDICTION & VENUE

       16.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2) because

(i) at least one member of the Class is a citizen of a different state than any Defendant, (ii) the

amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (iii) none of the

exceptions under that section apply.

       17.     This Court has personal jurisdiction over Defendants because they conduct

business in this District and the wrongful conduct giving rise to this case occurred in, was

directed to, or emanated from this District. This Court further has personal jurisdiction over

Defendants The University of Chicago Medical Center and The University of Chicago because

they are headquartered in this District.

       18.     Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendants

The University of Chicago Medical Center and The University of Chicago maintain their

headquarters and principal place of business in this District, and a substantial part of the events

giving rise to Plaintiff’s Complaint occurred in this District.

                                   FACTUAL BACKGROUND

I.     Detailed and Identifiable Medical Records are the Most Valuable Consumer Data,
       and the Hardest to Obtain.

       19.     With the rise of the data mining industry, corporations have started gathering




3
        The University of Chicago Medical Center and The University of Chicago are fully
integrated entities that have acted jointly in this case. The University of Chicago Medical Center
and The University of Chicago are jointly managed and share employees.


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untold amounts of data regarding consumers’ daily lives, including what they do on their phones,

and computers, where they travel each day, and even what they purchase in retail stores. From

this, data miners and brokers can build detailed portfolios about consumers that are then bought

and sold for a variety of purposes.

        20.     A key component of any data portfolio is the status of a consumer’s health. While

data points such as purchase histories, search engine and browsing histories, as well as social

media posts can provide insight into certain health problems, a clear picture of a consumer’s

health remains largely a black hole for data miners. The only substantial remedy to this problem

is access to detailed and complete medical records.

        21.     A multi-billion-dollar industry has arisen in response to this need.4 Pharmacies,

insurance companies, and other medical organizations—including federal and many state health

departments—provide limited medical information to data brokers. Three quarters of all retail

pharmacies send some portion of their electronic records to these companies. While this data is

largely de-identified, data brokers are able to make numerous assumptions about the data in

order to make it into a marketable product.5

        22.     These data points are often incomplete in other ways beyond de-identification. In

most instances, the data points are merely a snapshot of a small part of a consumer’s overall

health (e.g., a specific prescription or a single ailment, etc.). This type of data will rarely, if ever,

show a complete medical history or in-depth accounting of medical ailments and procedures over



4
        How Data Brokers Make Money Off Your Medical Records, SCIENTIFIC AMERICAN,
https://www.scientificamerican.com/article/how-data-brokers-make-money-off-your-medical-
records (last visited on June 26, 2019).
5
        Your private medical data is for sale – and it's driving a business worth billions, THE
GUARDIAN, https://www.theguardian.com/technology/2017/jan/10/medical-data-multibillion-
dollar-business-report-warns (last visited on June 26, 2019).



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time.6 That data, largely contained only in the records of doctors and hospitals, is far more rare

and is viewed as a “Holy Grail” of health information for any data miner.7

       23.     A complete health record is an extremely sensitive data set that provides insight

into the most personal aspects of an individual’s life. It can shed light on chronic conditions, life-

threatening illnesses, whether a person has addiction issues, disabilities, and issues related to

pregnancy, along with personal details such as sexual preferences, gender nonconformity, and

sexually transmitted diseases.

       24.     The details of an individual’s medical history are of significant value to a variety

of interested parties, including employers, schools, governments, insurance companies, lenders,

retail marketers, and obviously, companies in the health care business. These entities can rely on

consumers’ records to make decisions about whether to lend money, how to price insurance

products, whether to hire a person, and even identify reasons to discriminate.

       25.     Full medical records are so sensitive, and so sought after, that Congress created a

comprehensive statutory regime, known as the Health Insurance Portability and Accountability

Act (“HIPAA”), to prevent their unauthorized disclosure. HIPAA established rules that require

healthcare organizations to limit who can access, view, or share health data. It is meant to ensure

that any information disclosed to healthcare providers (e.g., doctors and hospitals) and health

plans (e.g., insurance companies), or information that is created by them, is subject to strict



6
         The incredible potential and dangers of data mining health records, THE WASHINGTON
POST, https://www.washingtonpost.com/news/innovations/wp/2014/10/01/the-incredible-
potential-and-dangers-of-data-mining-health-records/?utm_term=.f92ac1b63800 (last visited on
June 26, 2019).
7
         How Your Medical Data Fuels a Hidden Multi-Billion Dollar Industry, TIME,
http://time.com/4588104/medical-data-industry (last visited on June 26, 19); see also The Hidden
Global Trade in Patient Medical Data, YALEGLOBAL ONLINE,
https://yaleglobal.yale.edu/content/hidden-global-trade-patient-medical-data (last visited on June
26, 2019).


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security controls. Patients are also given control over who their information is released to and

who it is shared with.

       26.     Besides the obvious obligations that health-care providers, like the University,

have to act in the best interest of their patients’ health, a primary duty of any health care provider

during and long after patients are cared-for—regardless of whether in connection with a run-of-

the-mill visit to the doctor’s office or life-saving trip to the emergency room—is to protect their

privacy and secure their medical records in accordance with HIPAA.

       27.     Without HIPAA, data miners like Google, in conjunction with hospitals like the

University, could create a thriving marketplace for medical data. Companies would willingly pay

millions of dollars for complete medical records, which they would analyze, repackage and sell

to thousands of clients.

       28.     Fortunately, HIPAA does exist. The only question that remains is whether entities

like Defendants choose to follow it.

II.    An Overview of HIPAA.

       29.     HIPAA was enacted and became effective in 1996. Prior to HIPAA, no generally

accepted set of security standards or general requirements for protecting health information

existed in the health care industry. However, the increased reliance on electronic information

systems for storing medical information and facilitating treatment created a rising need for

regulation.

       30.     HIPAA required the federal government to develop regulations protecting the

privacy and security of certain health information. In response, the government published the

HIPAA Privacy Rule and the HIPAA Security Rule.

       31.     The Privacy Rule, or Standards for Privacy of Individually Identifiable Health




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Information, establishes national standards for the protection of certain health information. The

Security Rule establishes a national set of security rules for protecting certain health information

that is held or transferred in electronic form.

       32.     The Security Rule operationalizes the protections contained in the Privacy Rule

by addressing the technical and non-technical safeguards that organizations called “covered

entities”8 must put in place to secure individuals’ “electronic protected health information.”9

       33.     Violations of HIPAA carry significant fines and penalties of up to $50,000 per

violation. Additionally, covered entities and specified individuals who “knowingly” obtain or

disclose individually identifiable health information can face imprisonment of up to one year.

       34.     Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services create rules to streamline the standards for handling

individually identifiable personal health information. The Department of Health and Human

Services established standards to protect such electronic personal health information from

unauthorized disclosure. These standards require entities, such as the University, to adopt

administrative, physical, and technical safeguards to ensure the confidentiality, integrity, and

security of personal health records.

       35.     When personal health information is de-identified (i.e., a process whereby

identifiers are removed from the health information), HIPAA does not restrict the use or




8
        “Covered entities” include health plans, health care clearinghouses, and any health care
provider who transmits health information in electronic form in connection with a transaction for
which the Secretary of HHS has adopted standards under HIPAA. See Summary of the HIPAA
Security Rule, HHS.gov, https://www.hhs.gov/hipaa/for-professionals/security/laws-
regulations/index.html (last visited on June 26, 2019).
9
        Id.


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disclosure of such information. Under HIPAA, health information that does not identify an

individual, and there is no reasonable basis to believe that the information can be used to identify

an individual, is not considered individually identifiable health information.

       36.     Here, because Defendants touted to the public that the mass transfer of the

University’s medical records were de-identified, HIPAA’s de-identification provisions apply.

       37.     There are two methods to achieve de-identification of protected health

information.

       38.     The first, referred to as the “Expert Determination” method, requires:

               (1) A person with appropriate knowledge of and experience with generally
                   accepted statistical and scientific principles and methods for rendering
                   information not individually identifiable:

                    (i) Applying such principles and methods, determines that the risk is
                    very small that the information could be used, alone or in combination
                    with other reasonably available information, by an anticipated recipient
                    to identify an individual who is a subject of the information; and

                    (ii) Documents the methods and results of the analysis that justify such
                    determination;

       The second method for de-identification is referred to as the “Safe Harbor.” According to

this method, the following categories of information must be removed from personal health

records to be properly de-identified:


       (A) Names; (B) All geographic subdivisions smaller than a state, including street
       address, city, county, precinct, ZIP code, and their equivalent geocodes, except
       for the initial three digits of the ZIP code if, according to the current publicly
       available data from the Bureau of the Census…; (C) All elements of dates (except
       year) for dates that are directly related to an individual, including birth date,
       admission date, discharge date, death date, and all ages over 89 and all elements
       of dates (including year) indicative of such age, except that such ages and
       elements may be aggregated into a single category of age 90 or older; (D)
       Telephone numbers; (L) Vehicle identifiers and serial numbers, including license
       plate numbers; (E) Fax numbers; (M) Device identifiers and serial numbers; (F)
       Email addresses; (N) Web Universal Resource Locators (URLs); (G) Social



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        security numbers; (O) Internet Protocol (IP) addresses; (H) Medical record
        numbers; (P) Biometric identifiers, including finger and voice prints; (I) Health
        plan beneficiary numbers; (Q) Full-face photographs and any comparable images;
        (J) Account numbers; (R) Any other unique identifying number, characteristic, or
        code, except as permitted by paragraph (c) of this section [Paragraph (c) is
        presented below in the section “Re-identification”]; and (K) Certificate/license
        numbers.

        39.    As described below, the Defendants did not follow either of these rules in

disclosing and accepting hundreds of thousands of medical records.

III.    The University of Chicago is Obligated to Protect the Medical Records of
        Millions of Patients.

        40.    The University holds itself out as following the highest standards of patient care

and being among the highest rated and most awarded hospitals in the world,10 claims which

extend to their commitment to patient privacy and the protection of medical data. The University

widely represents that it follows HIPAA and other applicable laws, takes patient privacy

seriously, and describes how it will protect patient medical records.

        41.    The records governed by HIPAA are exactly the type of medical records in the

possession of the University. Each time a patient is seen, whether for a brief outpatient procedure

or a month-long in-patient stay, the University collects detailed information about their current

and past health conditions, as well as creates sensitive new data while the individual is treated.

Individuals entrust their most personal information, experiences, and physical and mental

hardships to the medical staff of the University. This can include genetic information, family

health histories, details of sexual encounters, mental illness or a terminal diagnosis. In return,

patients expect that the University will act accordingly and protect their privacy.

        42.    Over decades of operation, the University has collected and stored billions of data



10
         Award and Distinctions, UChicago Medicine, http://www.uchospitals.edu/about/awards/
(last visited on June 26, 2019).


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points through millions of patient medical records.

       43.     From both a legal and ethical standpoint, it is unquestionable that the University is

obligated to protect patient data, prevent its unauthorized disclosure, and act in the best interests

of its patients. It is equally obvious that the University’s patients do not want, and do not consent

to, the transfer of their medical records to a third-party data miner intent on using them for

commercial purposes.

       44.     The obligation to protect patient data at the University is heightened by the socio-

economic makeup of its patients. A significant portion of the patients treated at the University

are socially and economically disenfranchised, making them far less able to vindicate and

advocate for their privacy rights.

IV.    An Overview of Google and its Aggressive Efforts to Enter the Trillion-Dollar Per
       Year Healthcare Industry.

       45.     Although primarily recognized for its search engine, Defendant Google operates

one of the most far reaching and comprehensive data mining machines in the world. The Wall

Street Journal recently noted that,

       Google Analytics is far and away the web’s most dominant analytics platform.
       Used on the sites of about half of the biggest companies in the U.S., it has a total
       reach of 30 million to 50 million sites. Google Analytics tracks you whether or
       not you are logged in. Meanwhile, the billion-plus people who have Google
       accounts are tracked in even more ways. In 2016, Google changed its terms of
       service, allowing it to merge its massive trove of tracking and advertising data
       with the personally identifiable information from our Google accounts…. Google
       also is the biggest enabler of data harvesting, through the world’s two billion
       active Android mobile devices.11

       46.     With billions of monthly active users, Google has access to an exorbitant amount




11
       Who Has More of Your Personal Data Than Facebook? Try Google, THE WALL STREET
JOURNAL, https://www.wsj.com/articles/who-has-more-of-your-personal-data-than-facebook-try-
google-1524398401 (last visited on June 26, 2019).


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of personal consumer data, including Internet web browsing histories (Google Chrome), Internet

searches (Google Search), physical locations (Google Maps and Waze), personal and work email

(Gmail), and mobile devices (Android). This wealth of information feeds into Google’s highly

profitable analytics and advertising platform, which makes up virtually all of its $110.8 billion of

annual revenues.

       47.     While analytics and advertising are its primary source of income, Google

constantly looks to develop new products and services, and enter new markets. One market it has

been aggressively trying to enter is the trillion-dollar per year healthcare industry.

               a.      Google Research

       48.     Over the last decade, Google has invested heavily in health-related products and

services, including:

               •    Introducing G Suite (i.e., Gmail, Docs, Drive, Calendar, and other cloud
                    services) for healthcare businesses;

               •    Developing Google Cloud (i.e., Google’s cloud storage and computing
                    platform) for HIPAA compliant workloads;

               •    Creating Google Genomics, which is Google’s cloud platform that analyzes
                    and stores massive amounts of human genetic data (i.e., DNA);

               •    Launching Google Fit, which is a service that monitors individual’s physical
                    activity, steps, and caloric intake;

               •    Adding “symptom search” and “health cards” to Google Search, which allows
                    consumers to more easily research answers to common health-related
                    questions;12 and

               •    Making “big bets in healthcare and life sciences” including spending hundreds
                    of millions investing in and acquiring healthcare companies like Calico,
                    DeepMind, and Verily.

12
        In fact, 1 in 20 Google searches are for health-related information. See Prem Ramaswami,
A remedy for your health-related questions: health info in the Knowledge Graph, GOOGLE (Feb.
10, 2015), https://googleblog.blogspot.com/2015/02/health-info-knowledge-graph.html (last
visited on June 26, 2019).


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       49.     Google also created what it calls its Google Research healthcare team. Google

Research is Google’s in-house research center that it markets as an academic-type think tank or

research center (in reality, it’s just a product research and development division). The healthcare

team, in turn, researches opportunities for applying Google technologies—machine learning and

artificial intelligence (“AI”), in particular—to healthcare. According to its marketing materials,

Google’s healthcare team believes:

       “AI is poised to transform medicine, delivering new, assistive technologies that will
       empower doctors to better serve their patients. Machine learning has dozens of
       possible application areas, but healthcare stands out as a remarkable opportunity. .
       . .”13

       50.     Google was especially interested in using its machine learning models to predict

healthcare events, like detecting a patient’s heart attack hours or even days in advance.

       51.     But Google had difficulty gaining a foothold in the predictive health analytics

industry. Indeed, Google’s major hurdle to predicting healthcare events, as described above, was

a lack of access to massive amounts of personal health data, which consumers are not eager to

share with data miners and thus, healthcare providers are prohibited from doing so. Google knew

this, so it attempted a work-around.

       52.     In 2008, Google attempted to gather consumer medical data by developing a

service that let consumers organize and store their personal health data and medical records on

Google’s platform. The service barely got off the ground, however. After a short period of time,

it was discontinued for a lack of consumer participation.

       53.     Thereafter, Google went looking for new avenues of access to patient data.



13
         Healthcare, GOOGLE RESEARCH, https://research.google.com/teams/brain/healthcare/
(last visited on June 26, 2019).


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               b.      DeepMind

       54.     In 2014, for $520 million, Google acquired a tiny startup named DeepMind that

focused on bringing artificial intelligence and advanced machine learning to, among others, the

healthcare industry.

       55.     Following this acquisition, Google, in part through DeepMind, embarked on a

campaign, veiled as well-intentioned research, to obtain millions of medical records from health

care organizations.

       56.     Initially, Google and DeepMind participated in a 2015 “study” that processed

patient data from the Royal Free NHS Foundation Trust. The medical record sharing there raised

serious concerns about privacy and patient consent. The Information Commissioner’s Office, a

UK data protection watchdog, stated, “[o]ur investigation found a number of shortcomings in the

way patient records were shared for this trial . . . Patients would not have reasonably expected

their information to have been used in this way, and the Trust could and should have been far

more transparent with patients as to what was happening.” It concluded that the agreement with

Royal Free “failed to comply with data protection law.”14

       57.     DeepMind, in response, stated “in our determination to achieve quick impact

when this work started in 2015, we underestimated the complexity of the NHS and of the rules

around patient data, as well as the potential fears about a well-known tech company working in




14
        See Royal Free breached UK data law in 1.6m patient deal with Google’s DeepMind,
THE GUARDIAN, https://www.theguardian.com/technology/2017/jul/03/google-deepmind-16m-
patient-royal-free-deal-data-protection-act (last visited on June 26, 2019); see also The
Information Commissioner, the Royal Free, and what we’ve learned,
https://deepmind.com/blog/ico-royal-free (last visited on June 26, 2019).



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health.”15

       58.     While their statements were meant to be an apology and included promises to

protect patient privacy, it did not change Google’s course.16

       59.     During this time, Google and DeepMind widely propagated the narrative that

DeepMind would continue to operate independently and outside the reach of Google, and that

Google would not have direct access to patient records.

               c.     Google’s Commercialization Plans

       60.     However, shortly after Google acquired hundreds of thousands of records from

the University of Chicago, that narrative finally fell apart. In November 2018, Google announced

that it would fully absorb and take control of DeepMind Health, separating it from DeepMind

itself.17 As such, any supposed wall protecting health data collected and processed by DeepMind

was gone. And furthermore, Google now has at its disposal all the advanced capabilities

possessed by DeepMind to apply to the health records acquired from the University of

Chicago.18




15
        The Information Commissioner, the Royal Free, and what we’ve learned,
DeepMind.com, https://deepmind.com/blog/ico-royal-free/ (last visited on June 26, 2019).
16
        Google has since gained access to 700,000 medical records through the US Department
of Veterans Affairs. It remains unclear, what, if any, consent veterans provided to share their
medical records with Google or the level of detail included in those records. Researching patient
deterioration with the US Department of Veterans Affairs, DeepMind.com,
https://deepmind.com/blog/research-department-veterans-affairs/ (last visited on June 26, 2019).
17
        DeepMind Is Handing DeepMind Health Over To Google, FORBES,
https://www.forbes.com/sites/samshead/2018/11/13/deepmind-is-handing-over-deepmind-health-
to-google/#6db706b72d55 (last visited on June 26, 2019); Why Google Just Tightened Its Grip
On DeepMind, Forbes, https://www.forbes.com/sites/parmyolson/2018/11/14/why-google-just-
tightened-its-grip-on-deepmind/#1aa439552789 (last visited on June 26, 2019).
18
        Google has a responsibility to protect DeepMind data, Financial Times,
https://www.ft.com/content/83e1e46c-ebf0-11e8-8180-9cf212677a57 (last visited on June 26,
2019); Google, DeepMind and my confidential health records, Financial Times,



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       61.     Additionally, it is clear that the takeover of DeepMind Health was meant to be a

major step toward the full-scale commercialization of Google’s health products. As noted by the

Financial Times:

       David Feinberg, the former head of the US private healthcare group Geisinger,
       will run Google Health, drawing together and commercializing the company’s
       disparate experiments in everything from diagnosing cancer to managing chronic
       illness and equipping doctors with more technology… ‘[Feinberg’s] expertise is
       on the operational side of the health payer-provider space, rather than research.
       His role will be to figure out a go-to-market strategy, how to deploy and sell tools
       to hospitals, health insurance carriers and patients,’ said Nikhil Krishnan, health
       analyst at CBInsights, who has authored an in-depth report on Google’s
       healthcare business.19 (Emphasis added).

       62.     Predictably, Google’s efforts culminated in a recently revealed patent application

for its own electronic health records system, which “include a computer memory storing

aggregated EHR data from millions of patients; a computer executing deep learning on those

records in a standardized data structure format, and an interface for clinicians displaying salient

facts from the patient’s past and predicted future clinical events.”20 Google submitted this

application in 2017, demonstrating its clear intent to commercialize the University’s medical

records prior to obtaining them. Specifically, as noted below, the application discusses providing

its EHR product in a “fee for service, subscription, standalone product, or other business model.”




https://www.ft.com/content/2ee8c190-ed28-11e8-8180-9cf212677a57 (last visited on June 26,
2019).
19
        Inside DeepMind as the lines with Google blur, Financial Times,
https://www.ft.com/content/c26893d0-e9b0-11e8-a34c-663b3f553b35 (last visited on June 26,
2019).
20
        Google Has Its Own EHR Plan, Politico, https://www.politico.com/newsletters/morning-
ehealth/2019/02/04/data-mongers-have-your-number-for-opioid-abuse-501593; see also
http://pdfaiw.uspto.gov/.aiw?PageNum=0&docid=20190034591 (last visited on June 26, 2019).


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               d.     Google is Not Alone in its Pursuit of Medical Records; It is Just the Most
                      Successful.

       63.     Moreover, Google’s goal of obtaining these valuable and sensitive records is not

unique; rather it is shared by Google’s competitors in the data mining space, and as recently

revealed, that includes Facebook. By its own description, Facebook had a plan to:

       combine what a health system knows about its patients (such as: person has heart
       disease, is age 50, takes 2 medications and made 3 trips to the hospital this year)
       with what Facebook knows (such as: user is age 50, married with 3 kids, English
       isn’t a primary language, actively engages with the community by sending a lot of
       messages). The project would then figure out if this combined information could
       improve patient care, initially with a focus on cardiovascular health…. To address
       these privacy laws and concerns, Facebook proposed to obscure personally
       identifiable information, such as names, in the data being shared by both sides.
       However, the company proposed using a common cryptographic technique called
       hashing to match individuals who were in both data sets. That way, both parties
       would be able to tell when a specific set of Facebook data matched up with a
       specific set of patient data. The issue of patient consent did not come up in the early
       discussions.21

       64.     Yet, Facebook, then under fire for failing to prevent the capture and misuse of at




21
        Facebook sent a doctor on a secret mission to ask hospitals to share patient data, CNBC,
https://www.cnbc.com/2018/04/05/facebook-building-8-explored-data-sharing-agreement-with-
hospitals.html?cid=sm_npd_nn_tw_ma (last visited on June 26, 2019).



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least 87 million users’ data (along with myriad other privacy scandals), stated “we decided that

we should pause these discussions so we can focus on other important work, including doing a

better job of protecting people’s data and being clearer with them about how that data is used in

our products and services.”22

       65.     Google, on the other hand, was not yet facing an international privacy scandal,

and found a willing partner in the University whose primary focus was apparently not on patient

privacy, but rather creating headlines such as “Google works with University of Chicago to

predict medical events,” “U. of C. Medicine, Google hope to use patterns in patient records to

predict health,” and “UChicago Medicine and Google—a data-driven duo to watch.” While

these headlines circulated in the medical industry for a few days, the ramifications of the

University’s and Google’s actions will last far longer.

VI.    The University of Chicago Unlawfully Transferred Hundreds of Thousands of
       Patients’ Records to Google.

       66.     In May 2017, Google announced that it was partnering with The University of

Chicago to “research ways to use machine learning to predict medical events.” And only months

later, the University transferred its EHR to Google, consisting of hundreds of thousands of its

patients’ medical records.

               a.      The University did not obtain patients’ express consent to disclose their
                       medical records to Google.

       67.     Prior to transferring these records, the University did not obtain the express

consent of its patients to share them for the purposes Google intended to use them for, nor did it



22
       Facebook is pausing its work on sharing data with hospitals in the wake of the
Cambridge Analytica scandal, BUSINESS INSIDER, http://www.businessinsider.com/facebook-
pauses-health-collaboration-after-cambridge-analytica-scandal-2018-4?r=UK&IR=T (last visited
on June 26, 2019).


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inform them of the incredibly inadequate redactions that would be applied.

       68.     Through its Notice of Privacy Practices and Admission and Outpatient Agreement

and Authorization, the University represented to patients that it would, inter alia: protect their

medical information, maintain the privacy of their medical information, follow the terms of the

Notice of Privacy Practices in keeping their medical information confidential, comply with

HIPAA privacy regulations, and comply with any other federal and state laws, including all laws

that govern patient confidentiality.

       69.     The University’s Notice of Privacy Practices states that “protecting the privacy of

your health information is important” and explicitly warrants that it “will obtain your written

permission […] for the sale of your medical information.” Nowhere does the University disclose

that it would transfer patients’ medical records to Google.

       70.     Likewise, the University’s Admission and Outpatient Agreement and

Authorization form does not give the University permission to disclose patient’s medical records

to Google for any purpose whatsoever.

               b.      The medical records provided to Google by the University contain
                       datestamps that allow Google to identify patients.

       71.     The University, in conjunction with Google, published an article in a scientific

journal describing the results of its research and the methodology it employed in analyzing

patients’ medical records.23 The publication revealed that while the EHRs were “de-identified,”

the datestamps from the University patients’ records were maintained. Further, the University’s

patient’s health data “additionally contained de-identified free-text medical notes.”



23
        Alvin Rajkomar et al., Scalable and accurate deep learning for electronic health records,
1 NPJ DIGITAL MEDICINE, January 2018 at 4, available at
https://www.nature.com/articles/s41746-018-0029-1 (last visited on June 26, 2019)



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       72.     The medical records given to Google also contained the following information on

both inpatients and outpatients:

               a.      Patient demographics;
               b.      Provider orders;
               c.      Diagnoses;
               d.      Procedures;
               e.      Medications;
               f.      Laboratory values;
               g.      Vital signs; and
               h.      Flowsheet data.24

       73.     Only months after the transfer was complete did it become public that the

datestamps, along with free-text notes data, were only provided by the University, and not by any

other hospital working with Google.25 That’s not simply a coincidence or a failure to persuade on

the part of Google. Rather, the reason no other hospital, including the other health care providers

partnering with Google, provided this type of information is because it would be a prima facie

violation of HIPAA to share or even receive medical records in this form.

       74.     Publicly, Google and the University touted the security measures used to transfer

and store these records, along with the fact that they had been “de-identified.” In reality, these

records were not sufficiently anonymized and put the patients’ privacy at grave risk.

       75.     The inclusion of, at the very least, the datestamp data immediately places the

transfer of this medical data outside of the Safe Harbor provisions of HIPAA.

       76.     On information and belief, as required by HIPAA, the University did not perform

an expert determination before transferring the medical records to Google; or, alternatively, if it

did make that attempt, any finding that “the risk is very small that the information could be used,

alone or in combination with other reasonably available information, by an anticipated recipient



24
       Id.
25
       Id.


                                                 21
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to identify an individual who is a subject of the information” was woefully misplaced, as

described in the following section.

               c.         Google’s Ability to Re-Identify Medical Records.

       77.     While Defendants claim to have de-identified the hundreds of thousands of

medical records transferred to Google without patient permission, Google is uniquely able to re-

identify those records.

                              i. The Risk of Medical Record Re-Identification is Already a Major
                                 Threat.

       78.     Setting aside Google’s specific abilities, the risk of medical record re-

identification is high. Researchers with limited access to public data sets and supposedly de-

identified medical records have been able to re-identify patients at a shockingly high rate. For

example, in one study, researchers at Harvard’s Data Privacy Lab were able to re-identify 43%

of de-identified medical discharge records utilizing only publicly available data they purchased

for $50.26

       79.     In another example, physical activity data was recently used to re-identify

thousands of medical records (95% of the available data set) by utilizing artificial intelligence

and machine learning. Researchers analyzed the output of fitness trackers and demographic

characteristics such as age, gender, education level, annual household income, race, and country

of birth.27 As noted by Anil Aswani of the University of California, Berkeley, one of the study’s


26
        Latanya Sweeney, Matching Known Patients to Health Records in Washington State
Data, HARVARD UNIVERSITY, available at https://dataprivacylab.org/projects/wa/1089-1.pdf; see
also How Someone Can Re-Identify Your Medical Records, BLOOMBERG,
https://www.bloomberg.com/graphics/infographics/reidentifying-anonymous-medical-
records.html (last visited June 26, 2019).
27
      Linda Carroll, Anonymous patient data may not be as private as previously thought,
REUTERS, https://news.yahoo.com/anonymous-patient-data-may-not-private-previously-thought-
190248280.html (last visited June 26, 2019).


                                                  22
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authors, “[t]he study shows that machine learning can successfully re-identify the de-identified

physical activity data of a large percentage of individuals, and this indicates that our current

practices for de-identifying physical activity data are insufficient for privacy … More broadly it

suggests that other types of health data that have been thought to be non-identifying could

potentially be matched to individuals by using machine learning and other artificial intelligence

technologies.”28

       80.     Accordingly, sharing medical records, with anyone, that include the identifying

information noted above (including datestamps and free-text notes) already has a high

probability of being re-identified.

       81.     However, when the transfer of medical records is made to Google, the ability to

re-identify those records becomes a certainty.

                           ii. Google has Access to Nearly Unlimited Information Capable of
                               Re-Identifying Medical Records.

       82.     Google is one of the largest and most comprehensive data mining companies in

the world, drawing data from thousands of sources and compiling information about individuals’

personal traits (gender, age, sexuality, race), personal habits, purchases, and associations.

       83.     Not unlike recent revelations about Facebook and Cambridge Analytica, Google

also creates detailed profiles of millions of Americans for the purpose of predicting how they

will react to certain events, what and when they will buy a product, and other behavioral

patterns.

       84.     Based on these detailed profiles alone, Google has access to public and non-

public information that could easily lead to the re-identification of the medical records it received




28
       Id.


                                                 23
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from the University. And, of course, artificial intelligence and machine learning are the core

focus and product of DeepMind Health, Google’s newest addition to its healthcare operations

and product development.

       85.     As noted by Bloomberg, “[f]ew companies are better poised to analyze this

organism than Google. The company and its Alphabet cousin, Verily, are developing devices to

track far more biological signals. Even if consumers don’t take up wearable health trackers en

masse, Google has plenty of other data wells to tap. It knows the weather and traffic. Google’s

Android phones track things like how people walk, valuable information for measuring mental

decline and some other ailments. All that could be thrown into the medical algorithmic soup.”29

       86.     Beyond the vast amount of personal information Google possesses, and its

incredibly powerful analytics capabilities (including DeepMind Health), Google has in its

possession detailed geolocation information that it can use to pinpoint and match exactly when

certain people entered and exited the University’s hospital.

                           iii. Google Possesses Extremely Precise Geolocation Information on
                                Millions of Consumers.

       87.     Google tracks consumer locations through a variety of means including users of

Android phones and its mobile applications, like Maps and Waze. Likewise, when a consumer

uses other Google products, such as its search engine, Google records his or her Internet Protocol

address, which corresponds to a very specific physical location. Google is, therefore, able to

identify hundreds of millions of individuals’ exact location within a matter of feet, if not inches,

twenty-four hours a day.




29
        Google Is Training Machines to Predict When a Patient Will Die, Bloomberg
https://www.bloomberg.com/news/articles/2018-06-18/google-is-training-machines-to-predict-
when-a-patient-will-die (last visited June 26, 2019).


                                                 24
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not) as a way to improve geolocation mapping.31 The University offers a comprehensive WiFi

network at all public buildings on its medical campus,32 that when a patient connects to it, or

even simply in the buildings where the network is live, would identify the location of the

network to Google through its prior knowledge of the exact location of that specific WiFi

network.

       93.     This geolocation information, when combined with the exact datestamps for

admission and discharge (along with other health events at the hospital) included in the

University’s medical records, and cross referencing the age, gender, and demographic

information with its own data, creates a perfect formulation of data points for Google to identify

who the patients in those records really are.33

       94.      If that weren’t enough, the University’s release of medical records further

imperiled patient privacy by including free-text notes. These notes are normally not included in

de-identified medical records and themselves create an enormous wealth of data re-identifying

the patients themselves.

       95.     On information and belief, the process used to redact the free-text notes, and its

specific results, were not properly audited or verified in an independent manner. As such, there is



31
         How Google Uses Wi-Fi Networks to Figure Out Your Exact Location, Slate,
https://slate.com/technology/2018/06/how-google-uses-wi-fi-networks-to-figure-out-your-exact-
location.html (last visited on June 26, 2019) (“Google doesn’t merely collect IP-address data to
estimate a user’s location. Instead, Google retains a detailed map of known Wi-Fi networks and
access points. By knowing the exact location of these networks, and your proximity to them, its
location services can gauge your location with roughly 30 feet of accuracy.”) (emphasis added).
32
         Wireless Internet Access, UChicago Medicine,
https://www.uchicagomedicine.org/patients-visitors/visitor-information/wireless-internet-access
(last visited on June 26, 2019).
33
         Google could easily also cross reference consumer search histories with the records
themselves (e.g., a University medical record reflects a specific procedure on a specific date,
which can be cross referenced with users in the same geographic location performing Google
searches about that procedure in the same time period).


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no available information regarding the rate of personally identifying information that may have

evaded redaction and was transferred to Google. The methods and design of this software, and

whether or not it could comprehensively review and redact millions of data points, remains a

complete mystery to the patients whose records are now in the hands of Google.

       96.     Both Google and the University violated HIPAA by sharing and receiving

medical records that included sufficient information for Google to re-identify the patients. Both

were aware at the time of the transfer that the medical records contained information outside of

HIPAA’s Safe Harbor provisions, that a competent expert determination was not made, and that

the thousands of patients had not given proper consent to allow Google to take possession of the

records for the purpose of creating a commercial product.

       97.     Without question, the University exploited its patients. The University took

advantage of the fact that a large number of its patients, due to socio-economic barriers, are not

in a position to assert their right to privacy and take steps to ensure that their medical records are

not disclosed to a third party for a commercial purpose.

                      FACTS SPECIFIC TO PLAINTIFF DINERSTEIN

       98.     Plaintiff Matt Dinerstein was admitted to The University Medical Center on June

4, 2015 and checked out on June 7, 2015 and was again admitted on June 25, 2015 and checked

out on June 27, 2015.

       99.     During his stay, the University generated numerous pages of health records that

included sensitive information such as Dinerstein’s demographic information, his vitals,

diagnoses, procedures, and prescriptions.

       100.    In 2015, including during his stay at the University Medical Center, Dinerstein

used a smartphone with Google applications installed that, on information and belief, collected




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his geolocation information and transmitted it back to Defendant Google. During that time,

Dinerstein also maintained a Google account.

       101.    On information and belief, the University disclosed Dinerstein’s confidential

medical information to Defendant Google. The University did not properly de-identify

Dinerstein’s medical health records and included datestamps associated with his procedures as

well as free-text notes from his doctors and nurses.

       102.    Dinerstein never gave his written consent—or any consent whatsoever—to the

University to disclose his confidential medical information to Google. Similarly, he did not give

Defendant Google permission to use his medical records for any purpose, let alone for a

commercial purpose.

       103.    Dinerstein paid health insurance premiums and other fees associated with his

treatment at the University.

                                    CLASS ALLEGATIONS

       104.    Class Definition: Plaintiff Matt Dinerstein brings this action on behalf of himself

and a class of similarly situated individuals defined as follows:

       All individuals in the United States whose Electronic Health Records were transferred to
       Google (or any of its related entities) by The University of Chicago (or any of its related
       entities).

The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

this action and the members of their family; (2) Defendant, Defendant’s subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or its parents have a controlling

interest and their current or former employees, officers and directors; (3) persons who properly

execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel




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and Defendants’ counsel; and (6) the legal representatives, successors, and assigns of any such

excluded persons.

       105.    Numerosity: The exact number of members of the Class is unknown, but

individual joinder in this case is impracticable. The Class likely consists of hundreds of

thousands of individuals. Members of the Class can be easily identified through Defendants’

records.

       106.    Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the other members of the Class, and those questions

predominate over any questions that may affect individual members of the Class. Common

questions for the Class include but are not limited to the following:

               a.      Whether the University’s conduct violated the ICFA;

               b.      Whether the University’s conduct constitutes a breach of express contract;

               c.      Whether the University’s conduct constitutes a breach of implied contract;

               d.      Whether Google’s conduct constitutes tortious interference with contract;

               e.      Whether the Defendants’ conduct constitutes intrusion upon seclusion; and

               f.      Whether the Defendants’ conduct constitutes unjust enrichment.

       107.    Typicality: Plaintiff’s claims are typical of the claims of the other members of the

Class in that Plaintiff and the members of the Class sustained damages arising out of Defendants’

uniform wrongful conduct.

       108.    Adequate Representation: Plaintiff has and will continue to fairly and

adequately represent and protect the interests of the Class and has retained counsel competent

and experienced in complex litigation and class actions. Plaintiff has no interests antagonistic to

those of the Class, and Defendants have no defenses unique to Plaintiff. Plaintiff and his counsel




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are committed to vigorously prosecuting this action on behalf of the members of the Class, and

they have the resources to do so. Neither Plaintiff nor his counsel have any interest adverse to

those of the other members of the Class.

       109.    Superiority: This class action is also appropriate for certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy and joinder of all members of the Class is impracticable. The damages suffered

by the individual members of the Class will likely be small relative to the burden and expense of

individual prosecution of the complex litigation necessitated by Defendants’ wrongful conduct.

Thus, it would be virtually impossible for the individual members of the Class to obtain effective

relief from Defendants’ misconduct. Even if members of the Class could sustain such individual

litigation, it would not be preferable to a class action because individual litigation would increase

the delay and expense to all parties due to the complex legal and factual controversies presented

in this Complaint. By contrast, a class action presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision

by a single court. Economies of time, effort, and expense will be fostered and uniformity of

decisions will be ensured.

                                FIRST CAUSE OF ACTION
         Violation of the Consumer Fraud and Deceptive Business Practices Act
                                       815 ILCS 505
     (On Behalf of Plaintiff and the Class as Against Defendant University of Chicago)

       110.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       111.    The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

505 (“ICFA”), protects both consumers and competitors by promoting fair competition in

commercial markets for goods and services.

       112.    The ICFA prohibits any unlawful, unfair, or fraudulent business acts or practices,



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including the employment of any deception, fraud, false pretense, false promise, or

misrepresentation, or the concealment, suppression, or omission of any material fact.

       113.    As described herein, the University has engaged in unlawful conduct and per se

violations of the ICFA, as well as deceptive and unfair conduct.

       114.    Through its Notice of Privacy Practices and Admission and Outpatient Agreement

and Authorization, the University represented to Plaintiff and the Class that it would, inter alia:

protect their medical information, maintain the privacy of their medical information, follow the

terms of the Notice of Privacy Practices in keeping their medical information confidential, and

comply with any other federal and state laws, including all laws that govern patient

confidentiality.

       115.    The University’s privacy promises were, in fact, false. The University did not

keep Plaintiff’s and Class members’ medical records confidential and did not prevent

unauthorized access to them. In fact, the University did the opposite. On information and belief,

Plaintiff’s and the Class members’ medical records were provided to Defendant Google when the

University transferred hundreds of thousands of its patients’ medical records to Defendant

Google.

       116.    Knowing that consumers are less likely to do business with companies that fail to

keep their personal information confidential, the University made the false privacy

representations with the intention that Plaintiff would rely on them in contracting with the

University for medical services.

       117.    Had the University disclosed that it would not keep Plaintiff’s and the Class

members’ medical information confidential and, instead, provide it to Defendant Google—which

did not comply with state and federal law—Plaintiff and the Class members would not have paid




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at all for the University’s health care services (i.e., the value of health care services without

adequate privacy protections is worth substantially less than the value of such services with

adequate protections).

       118.    Accordingly, the University’s false representations regarding its privacy practices

constituted deceptive conduct prohibited by the ICFA.

       119.    The University’s failures to comply with its privacy promises and obligations

were also unlawful conduct prohibited by the ICFA.

       120.    The University’s inadequate privacy protections violated state and federal law and

are therefore unlawful under the ICFA.

       121.    The University’s unlawful conduct caused Plaintiff and the Class members

monetary damages because had the University disclosed that it would provide Defendant Google

their medical records, they would not have paid at all for the University’s health care services—

either directly or indirectly by paying their health care insurance premiums, co-pays, and/or

insurance deductibles.

       122.    Further, because Plaintiff and the Class members paid, in part, for the University

to keep their medical information confidential in compliance with all relevant federal and state

laws protecting and governing his medical information, they did not receive the services they

paid for.

       123.    The University’s deceptive, unlawful, and unfair conduct occurred in the course

of consumers contracting for medical treatment, and therefore occurred in the course of conduct

involving trade and commerce.

       124.    In sum, the University’s deceptive, unlawful, and unfair conduct caused Plaintiff

and the Class members monetary damage. They would have not paid for the University’s health




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care services had they known that the University would not keep their medical records private

and confidential, in violation of the University’s representations, and state and federal law.

       125.      Further, Plaintiff and the Class members have suffered and will continue to suffer

other forms of injury and/or harm including, but not limited to, anxiety, emotion distress, loss of

privacy, and other economic and non-economic losses.

                              SECOND CAUSE OF ACTION
                                Breach of Express Contract
     (On Behalf of Plaintiff and the Class as Against Defendant University of Chicago)

       126.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       127.      Plaintiff and the Class members entered into a valid and enforceable agreement

with Defendant the University whereby the University promised to provide health care services

to Plaintiff and the Class, and Plaintiff and the Class agreed to pay money for such services.

       128.      A material part of the University’s promise to Plaintiff and the Class to provide

health care services was to keep their medical information private and confidential in accordance

with its Notice of Privacy Practices and Admission and Outpatient Agreement and

Authorization.

       129.      In its written services contracts, patients’ rights statements, and privacy policies,

the University expressly promised Plaintiff and the Class that it would comply with all HIPAA

standards, protect Plaintiff’s and the Class members’ medical information, and keep it

confidential in accordance with its Notice of Privacy Practices, Admission and Outpatient

Agreement and Authorization, and HIPAA.

       130.      The contracts required Defendant the University to safeguard Plaintiff’s and the

Class members’ medical information, and keep it private and confidential.

       131.      A meeting of the minds occurred, as Plaintiff and the Class agreed, inter alia, to




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provide accurate personal and family health information and to pay—either directly or indirectly

by paying their health care insurance premiums, co-pays, and/or insurance deductibles—the

University in exchange for the University’s agreement to, among other things, protect her

medical information.

       132.    Plaintiff and the Class fully performed their obligations under the contracts.

       133.    Defendant the University did not keep Plaintiff’s and the Class members’ medical

information private or confidential when, on information and belief, it disclosed their medical

records to Defendant Google.

       134.    The failure to meet these promises and obligations constitutes an express breach

of contract. In other words, the University breached its contracts with Plaintiff and the Class by

failing to keep their medical information private and confidential as described herein.

       135.    The University’s failure to fulfill its promises resulted in Plaintiff and the Class

receiving services that were of less value than he paid for.

       136.    Stated otherwise, because Plaintiff and the Class paid for privacy protections that

they did not receive—even though such protections were a material part of her contracts with the

University—they did not receive the full benefit of the bargain.

       137.    As a result of the University’s breach, Plaintiff and the Class suffered damages in

the amount of the difference between the price they paid for the University’s services as

promised and the actual diminished value of its health care services.

       138.    Further, Plaintiff and the Class have suffered and will continue to suffer other

forms of injury and/or harm including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.




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                                THIRD CAUSE OF ACTION
                                 Breach of Implied Contract
                               (in the alternative to Count Two)
     (On Behalf of Plaintiff and the Class as Against Defendant University of Chicago)

       139.    Plaintiff incorporates the foregoing allegation as if fully set forth herein.

       140.    In order to benefit from the University’s services, Plaintiff and the Class were

required to disclose medical information to the University, including their names, contact

information (address, phone and fax numbers, and email address), Social Security Numbers,

dates of birth, and extremely sensitive medical information.

       141.    By providing that medical information, and upon the University’s acceptance of

such information, Plaintiff and the Class members, on the one hand, and the University, on the

other hand, entered into implied contracts whereby the University was obligated to take

reasonable steps to keep that information private and confidential, as promised by its Notice of

Privacy Practices, and Admission and Outpatient Agreement and Authorization.

       142.    A meeting of the minds occurred, as Plaintiff and the Class members agreed, inter

alia, to provide their medical information and to pay—either directly or indirectly by paying

their health care insurance premiums, co-pays, and/or insurance deductibles—the University in

exchange for the University’s agreement to, among other things, provide medical care and keep

Plaintiff’s and the Class members’ medical information private.

       143.    Plaintiff and the Class members fully performed their obligations under the

contracts.

       144.    Without such implied contracts, Plaintiff and the Class would not have provided

their medical information to the University.

       145.    As described herein, the University did not keep Plaintiff’s and the Class

members’ medical information private or confidential.



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       146.      Because the University provided Plaintiff’s and the Class members’ medical

information to Defendant Google, the University breached its implied contracts with Plaintiff

and the Class.

       147.      The failure to meet its promises and obligations constitutes a breach of contract.

In other words, the University breached its contracts by failing to keep Plaintiff’s and the Class

members’ medical information confidential, as described herein.

       148.      The University’s failure to fulfill its promises resulted in Plaintiff and the Class

receiving services that were of less value than they paid for.

       149.      Stated otherwise, because Plaintiff and the Class paid for privacy protections that

they did not receive—even though such protections were a material part of the contracts with the

University—Plaintiff and the Class did not receive the full benefit of the bargain.

       150.      As a result of the University’s breach, Plaintiff and the Class members suffered

damages in the amount of the difference between the price they paid for the University’s services

as promised and the actual diminished value of its health care services.

       151.      Further, Plaintiff and the Class have suffered and will continue to suffer other

forms of injury and/or harm including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.

                               FOURTH CAUSE OF ACTION
                             Tortious Interference with Contract
              (On Behalf of Plaintiff and the Class as Against Defendant Google)

       152.      Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       153.      Plaintiff and the Class members entered into a valid and enforceable agreement

with Defendant the University whereby the University promised to provide health care services

to Plaintiff and the Class, and Plaintiff and the Class agreed to pay money for such services.




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       154.      A material part of the University’s promise to Plaintiff and the Class to provide

health care services was to keep their medical information private and confidential in accordance

with its Notice of Privacy Practices and Admission and Outpatient Agreement and

Authorization.

       155.      In its written services contracts, patients’ rights statements, and privacy policies,

the University expressly promised Plaintiff and the Class that it would comply with all HIPAA

standards, protect Plaintiff’s and the Class members’ medical information, and keep it

confidential in accordance with its Notice of Privacy Practices, Admission and Outpatient

Agreement and Authorization, and HIPAA.

       156.      The contracts required Defendant the University to safeguard Plaintiff’s and the

Class members’ medical information, and keep it private and confidential.

       157.      Defendant Google had actual or constructive knowledge of Plaintiff’s and the

Class members’ contracts.

       158.      Google intentionally and without justification interfered with the University’s

contracts with its patients—like Plaintiff and the Class members—with respect to keeping their

medical information safe and private.

       159.      As a result of the University’s breach, Plaintiff and the Class members suffered

damages in the amount of the difference between the price they paid for the University’s services

as promised and the actual diminished value of its health care services.

       160.      Further, Plaintiff and the Class have suffered and will continue to suffer other

forms of injury and/or harm including, but not limited to, anxiety, emotional distress, loss of

privacy, and other economic and non-economic losses.




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                                FIFTH CAUSE OF ACTION
                                  Intrusion Upon Seclusion
                 (On Behalf of Plaintiff and the Class as Against Defendants)

       161.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       162.    Defendants intentionally intruded upon Plaintiff’s and each of the Class members’

seclusion by transmitting, receiving, examining, and analyzing patients’ confidential electronic

health records and using them for commercial purposes.

       163.    Defendants’ transmission and receipt of patients’ medical records is highly

offensive to a reasonable person as it reveals intimate private details about their medical histories

—such as chronic conditions, life-threatening illnesses, whether a person has addiction issues,

disabilities, and issues related to pregnancy, along with personal details such as sexual

preferences, gender nonconformity, and sexually transmitted diseases—and that they believed

were confidential.

       164.    Defendants’ intrusion upon the Plaintiff’s and the Class members’ seclusion

caused Plaintiff and the Class members mental anguish and suffering in the form of anxiety and

concern for the safety of their medical records.

                                SIXTH CAUSE OF ACTION
                                       Unjust Enrichment
              (On Behalf of Plaintiff and the Class as Against Defendant Google)

       165.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       166.    Plaintiff and the Class members conferred a benefit on Google in the form of

valuable confidential medical records it received from the University.

       167.    Defendant Google appreciates or has knowledge of the benefits conferred upon it

by Plaintiff and the Class members.

       168.    Under principles of equity and good conscience, the Defendant Google should not




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be permitted to retain any money derived from its acquisition of medical records, or the medical

records themselves belonging to Plaintiff and the Class members, because it does not have

authorization to possess or use those records.

                              SEVENTH CAUSE OF ACTION
                                      Unjust Enrichment
                               (In the Alternative to Count Two)
          (On Behalf of Plaintiff and the Class as Against Defendant the University)

        169.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        170.     Plaintiff and the Class members conferred a benefit on the University in the form

of fees paid for health services.

        171.     Defendant the University appreciates or has knowledge of the benefits conferred

upon it by Plaintiff and the Class members.

        172.     Under principles of equity and good conscience, Defendant the University should

not be permitted to retain any money derived from its provision of medical records to Google

because it did not have authorization to give those records to Google.

        173.     Had Plaintiff and members of the Class been aware that the University was going

to share their medical records with Google, they would have paid less for their health care

services, or not paid for services at the University at all.

        174.     Accordingly, as a result of Defendant the University’s conduct, Plaintiff and the

Class members suffered damages in the amount of the difference between the price they paid for

the University’s services as promised and the actual diminished value of the health care services

they received.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Matt Dinerstein, individually and on behalf of a Class of

similarly situated individuals, prays for the following relief:



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       a)      An order certifying the Class as defined above, appointing Plaintiff Dinerstein as

the representative of the Class, and appointing his counsel as Class Counsel;

       b)      An order declaring that Defendant University of Chicago’s actions, as set out

above, constitute a violation of the ICFA, a breach of express contract, a breach of implied

contract, intrusion upon seclusion, and unjust enrichment;

       c)      An order declaring that Defendant Google’s actions, as set out above, constitute

tortious interference with contract, intrusion upon seclusion, and unjust enrichment;

       d)      An injunction requiring University of Chicago to comply with all HIPAA de-

identification regulations and enjoining University of Chicago from disclosing identifiable

patient medical records to third parties without first obtaining consent;

       e)      An injunction prohibiting Google from using patient records obtained from

University of Chicago;

       f)      An order requiring Google to delete all patient records received from University

of Chicago;

       g)      An award of actual damages; and

       h)      Such other and further relief that the Court deems reasonable and just.


                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can so be tried.


                                                       Respectfully submitted,

                                                       MATT DINERSTEIN, individually and on
                                                       behalf of all other similarly situated,

       Dated: June 26, 2019                            By: /s/Jay Edelson
                                                            One of Plaintiff’s Attorneys




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